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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                           CRIMINAL ACTION

    VERSUS                                                       NO. 09-373

    KEWAYNE MORGAN                                         SECTION “R” (3)



                          ORDER AND REASONS


       Kewayne Morgan moves for compassionate release.1 The Government

opposes the motion.2 Because Morgan has not shown that he meets the

requirements for compassionate release, the Court denies the motion.



I.     BACKGROUND

       On October 20, 2010, Morgan pleaded guilty to conspiracy to

distribute fifty grams or more of cocaine base in violation of 21 U.S.C. § 846

and possession of a firearm in furtherance of a drug trafficking crime in

violation of 18 U.S.C. § 924(c).3 According to the factual basis Morgan

signed, the Government would have been able to prove that he and co-

conspirators distributed “more than 150 but less than 500 grams of cocaine



1      See R. Doc. 469.
2      See R. Doc. 471.
3      See R. Doc. 195; R. Doc. 1.
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base, approximately two kilograms of marijuana, approximately 250 grams

of cocaine hydrochloride, and a negligible amount of heroin.”4 In addition,

Morgan pleaded guilty to a charge in a separate bill of information, which

established that he had a prior felony conviction under 21 U.S.C. § 851.5

      The Court initially sentenced Morgan to 300 months’ imprisonment,

to be followed by 10 years of supervised release.6 Following passage of the

Fair Sentencing Act (FSA), Pub. L. 111-220, 124 Stat. 2372 (2010), the Court

found that Morgan’s case merited resentencing.7 The Court amended its

judgment and resentenced Morgan to 180 months’ imprisonment, to be

followed by 8 years of supervised release.8 Morgan is incarcerated at Yazoo

City Medium FCI and has a projected release date of July 24, 2022.9



II.   DISCUSSION

      A.    Exhaustion

      Before a federal court will assess the merits of a compassionate release,

defendants must show they have “fully exhausted all administrative rights to



4     See R. Doc. 196 at 6.
5     See R. Doc. 192.
6     See R. Doc. 260 at 2.
7     See R. Doc. 410.
8     See R. Doc. 435.
9     See    Federal     Bureau  of    Prisons,    Find    an    Inmate,
https://www.bop.gov/inmateloc/ (last visited September 8, 2020).
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appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf,” or that “30 days [have passed] from the receipt of such a request by

the warden of the defendant’s facility.” 18 U.S.C. § 3582. The Fifth Circuit

has clarified that “all requests for compassionate release must be presented

to the Bureau of Prisons before they are litigated in the federal courts.”

United States v. Franco, No. 20-60473, 2020 WL 5249369, at *2 (5th Cir.

2020 Sept. 3, 2020).

      Morgan sent a request for compassionate release to the warden of

Yazoo City FCI Medium first on June 11, 2020,10 and again on July 9, 2020.11

Nothing in the record reflects that the warden responded to either request.

Since more than 30 days have passed since defendant requested

compassionate release from the warden, the Court finds that Morgan

satisfied the exhaustion requirement. The Court proceeds to the merits of

Morgan’s motion.

      B.    Extraordinary and Compelling Reasons

      Morgan does not satisfy any of the other requirements for

compassionate release. Courts grant compassionate release only when (1)

“extraordinary and compelling reasons warrant such a reduction,” and (2)




10    R. Doc. 472-1 at 2.
11    Id. at 6.
                                      3
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“such a reduction is consistent with the applicable policy statements issued

by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i)-(ii). The

application notes identify three discrete “extraordinary and compelling

reasons” that could warrant a reduction: a “terminal illness” or a condition

that “substantially diminishes the ability of the defendant to provide self-

care within the environment of a correctional facility and from which he or

she is not expected to recover”; (b) “[a]ge”—starting at age 65; and (c)

“[f]amily [c]ircumstances” that increase one’s caregiving responsibilities.

See U.S.S.G. § 1B1.13, application note 1 (emphasis removed).              The

Guidelines also identify a category of “[o]ther [r]easons,” but state that such

reasons are “[a]s determined by the Director of the Bureau of Prisons.” See

id. § 1B1.13, application note 1(D) (emphasis removed).

      Here, Morgan does not demonstrate that any of the above criteria

apply to him. He cites no health condition, he is 39 years old,12 and he does

not cite relevant family circumstances. The heart of Morgan’s claim is a

generalized fear of COVID-19.13 But generalized fear of the virus does not

rise to an “extraordinary and compelling reason” justifying release. See, e.g.,

Raia, 954 F.3d at 597 (“[T]he mere existence of COVID-19 in society and the




12    See R. Doc 469 at 2.
13    See R. Doc. 472 at 2.
                                      4
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possibility that it may spread to a particular prison alone cannot

independently justify compassionate release.”); United States v. Marco

Perez-Serrano, No. 13-2, 2020 WL 2754914, at *2 (S.D. Miss. May 27, 2020)

(“A generalized fear of contracting COVID-19 does not justify compassionate

release.”).

      Additionally, the Court does not find the Section 3553(a) factors

support a reduction in Morgan’s sentence. When determining whether to

modify a sentencing under Section 3582(c)(1)(A), the Court must “consider[]

the factors set forth in section 3553(a).” See 18 U.S.C. § 3582(c)(1)(A). Here,

the “seriousness of the offense” militates against early release. 18 U.S.C.

§ 3553(a)(2)(A). Morgan is convicted of serious drug and firearms offenses.

The Court finds that a reduced sentence would not reflect the seriousness of

the offense in Morgan’s case.

      Finally, Morgan captions his motion in part as a motion to “correct

sentencing error.”14 As the Government notes, there is no error in Morgan’s

sentence.15 Morgan’s conspiracy and firearm convictions carry a 15-year

mandatory minimum sentence. See 21 U.S.C. § 841(b)(1)(B) (providing a

minimum sentence of ten years); 21 U.S.C. § 924(c) (providing a five-year




14    See R. Doc. 469.
15    See R. Doc. 471 at 3.
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minimum sentence to be served consecutively to all other sentences). As

such, Morgan’s 180-month sentence is proper.

     For the foregoing reasons, the Court DENIES the motion.




      New Orleans, Louisiana, this 18th
                                   _____ day of September, 2020.


                    _____________________
                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE




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